Case 3:21-cv-05227-JD Document 360-4 Filed 03/27/23 Page 1 of 7




                   Exhibit 3
Sent:       Wed 7/14/2021 9:07:00 PM (UTC)
From:                  Case 3:21-cv-05227-JD Document 360-4 Filed 03/27/23 Page 2 of 7
            samitolvanen©google.com
To:         samitolvanen©google.com, wfrichar@google.com, jgalenson©google.com, brarcher©google.com, mmaurer©google.com
Subject:    AAAAo8V_rtM-MBI-THREADED:zT08xHC1VLA°/0°/0°/02021-07-14T02:06:59.068927
image.png
image.png
image.png
image.png


 samitolvanen@google.com 2021-07-14T21:06:59.068Z

 @Nathan Huckleberry Welcome also to the Platform Chat!
 I'm sure there's a perfectly good explanation for the name of the chat room, but as you can see, this one has history on.

 Deleted on2023-01-05T21:06:59.068Z

 @Nathan Huckleberry Welcome also to the Platform Chat!
 I'm sure there's a perfectly good explanation for the name of the chat room, but as you can see, this one has history on.

 wfrichar@google.com 2021-07-14T21:07:53.545Z

 The people in ZUR were missing out on Friday conversations.

 Deleted on2023-01-05T21:07:53.545Z

 The people in ZUR were missing out on Friday conversations.

 wfrichar@google.com 2021-07-14T21:07:58.334Z

 so we turned history on.

 Deleted on2023-01-05T21:07:58.334Z

 so we turned history on.

 wfrichar@google.com 2021-07-14T21:08:24.753Z

 Historically (ha) we have history off so that we can speak (more) freely.

 Deleted on2023-01-05T21:08:24.753Z

 Historically (ha) we have history off so that we can speak (more) freely.

 jgalenson@google.com 2021-07-14T21:09:16.820Z

 Huh, room names have a pretty short word limit.

 Deleted on2023-01-05T21:09:16.820Z

 Huh, room names have a pretty short word limit.

 wfrichar@google.com 2021-07-14T21:10:46.382Z

 old good hangouts > new bad chat

 Deleted on2023-01-05T21:10:46.382Z

 old good hangouts > new bad chat

 wfrichar@google.com 2021-07-14T21:11:10.258Z
  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                       GOOG-PLAY5-000436389
although new bad chat has some
                   Case        nice features.
                          3:21-cv-05227-JD    Document 360-4 Filed 03/27/23 Page 3 of 7
Deleted on2023-01-05T21:11:10.258Z

although new bad chat has some nice features.

wfrichar@google.com 2021-07-14T21:11:15 .965Z

threads, for example

Deleted on2023-01-05T21:11:15 .965Z

threads, for example

wfrichar@google.com 2021-07-14T21:11:21 .659Z

but lacks easter eggs.

Deleted on2023-01-05T21:11:21 .659Z

but lacks easter eggs.

brarcher@google.com 2021-07-14T21:16:20.240Z

you say "nice features" then mention threads as an example...

Deleted on2023-01-05T21:16:20.240Z

you say "nice features" then mention threads as an example...

jgalenson@google.com 2021-07-14T21:17:47.662Z

Linear non-nested threads...

Deleted on2023-01-05T21:17:47.662Z

Linear non-nested threads...

wfrichar@google.com 2021-07-14T21:17:49.093Z

You don't like them?

Deleted on2023-01-05T21:17:49.093Z

You don't like them?

wfrichar@google.com 2021-07-14T21:18:00.191Z

Yeah, okay.

Deleted on2023-01-05T21:18:00.191Z

Yeah, okay.

wfrichar@google.com 2021-07-14T21:18:14.714Z

"topics, more or less" would be a better description.

Deleted on2023-01-05T21:18:14.714Z


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"topics, more or less"Case
                       would3:21-cv-05227-JD
                             be a better description.
                                                   Document 360-4 Filed 03/27/23 Page 4 of 7
wfrichar@google.com 2021-07-14T21:18:35.870Z

even the new google groups (g/) took away threading

Deleted on2023-01-05T21:18:35.870Z

even the new google groups (g/) took away threading

jgalenson@google.com 2021-07-14T21:18:40.173Z

But disorganized because you have to keep randomly scrolling up through conversations to see older ones.

Deleted on2023-01-05T21:18:40.173Z

But disorganized because you have to keep randomly scrolling up through conversations to see older ones.

brarcher@google.com 2021-07-14T21:18:54.672Z
AAA
      This, so much this

Deleted on2023-01-05T21:18:54.672Z
AAA
      This, so much this

wfrichar@google.com 2021-07-14T21:19:25.282Z

yes, but if I ask a question (in a more work-oriented room), I can see the more relevant replies in one chunk.

Deleted on2023-01-05T21:19:25.282Z

yes, but if I ask a question (in a more work-oriented room), I can see the more relevant replies in one chunk.

wfrichar@google.com 2021-07-14T21:19:37.087Z

not interspersed with all the other questions.

Deleted on2023-01-05T21:19:37.087Z

not interspersed with all the other questions.

brarcher@google.com 2021-07-14T21:19:57.726Z

'even the new google groups (g/) took away threading'

image.png
Deleted on2023-01-05T21:19:57.726Z

'even the new google groups (g/) took away threading'

image.png
jgalenson@google.com 2021-07-14T21:20:01.607Z

Yeah, it's just hard to go back for older things (or follow two threads at once).

Deleted on2023-01-05T21:20:01 .607Z

Yeah, it's just hard to go back for older things (or follow two threads at once).


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brarcher@google.com 2021-07-14T21:20:12.565Z
                 Case  3:21-cv-05227-JD Document 360-4 Filed 03/27/23 Page 5 of 7
Also on mobile I've no idea what is going on

Deleted on2023-01-05T21:20:12.565Z

Also on mobile I've no idea what is going on

jgalenson@google.com 2021-07-14T21:20:28.492Z

That's true for me generally on mobile.

Deleted on2023-01-05T21:20:28.492Z

That's true for me generally on mobile.

wfrichar@google.com 2021-07-14T21:20:37.907Z

same

Deleted on2023-01-05121:20:37.907Z

same

wfrichar@google.com 2021-07-14T21:21:18.361Z

Does this guy work at Google now?

image.png
Deleted on2023-01-05121:21:18.361Z

Does this guy work at Google now?

image.png
mmaurer@google.com 2021-07-14T21:22:33.205Z

My biggest annoyance with threaded chat is that it contracts the history, and if you click the expander button for context, it
expands only *part* of the thread, and chooses the most recent part.

Deleted on2023-01-05121:22:33.205Z

My biggest annoyance with threaded chat is that it contracts the history, and if you click the expander button for context, it
expands only *part* of the thread, and chooses the most recent part.

mmaurer@google.com 2021-07-14T21:22:50.044Z

99% of the time when I press that button it is "I have missed this thread and want to read it from the beginning to
understand what's goin gon"

Deleted on2023-01-05121:22:50.044Z

99% of the time when I press that button it is "I have missed this thread and want to read it from the beginning to
understand what's goin gon"

jgalenson@google.com 2021-07-14T21:23:12.903Z

Sometimes it seems to expand the most recent part and sometimes the oldest part? I don't quite understand it...

Deleted on2023-01-05121:23:12.903Z

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Sometimes it seems to expand
                    Case     the most recent partDocument
                          3:21-cv-05227-JD        and sometimes the oldest
                                                            360-4          part? I don'tPage
                                                                    Filed 03/27/23      quite understand
                                                                                              6 of 7     it...

jgalenson@google.com 2021-07-14T21:30:21.736Z

Also whenever I scroll through to read a conversation the mouse keeps accidentally hovering over a name and popping up
the little dialog about that person, which is very distracting.

Deleted on2023-01-05T21:30:21.736Z

Also whenever I scroll through to read a conversation the mouse keeps accidentally hovering over a name and popping up
the little dialog about that person, which is very distracting.

brarcher@google.com 2021-07-14T21:31:45.327Z

Oh. I rather like the feature about hovering over a name and seeing info.

Deleted on2023-01-05T21:31:45.327Z

Oh. I rather like the feature about hovering over a name and seeing info.

jgalenson@google.com 2021-07-14T21:32:06.720Z

Yes, that's convenient, but not when it pops up all the time when you're trying to read through lots of text.

Deleted on2023-01-05T21:32:06.720Z

Yes, that's convenient, but not when it pops up all the time when you're trying to read through lots of text.

wfrichar@google.com 2021-07-14T21:33:05.920Z

It's never done that for me. Must be you.

Deleted on2023-01-05121:33:05.920Z

It's never done that for me. Must be you.

wfrichar@google.com 2021-07-14T21:33:10.496Z

"you're holding it wrong"

Deleted on2023-01-05121:33:10.496Z

"you're holding it wrong"

wfrichar@google.com 2021-07-14T21:33:21.274Z



Deleted on2023-01-05121:33:21.274Z



jgalenson@google.com 2021-07-14T21:34:17.003Z

I'd believe that.

Deleted on2023-01-05121:34:17.003Z

I'd believe that.


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wfrichar@google.com 2021-07-14T21:34:46.610Z
                  Case 3:21-cv-05227-JD Document 360-4 Filed 03/27/23 Page 7 of 7
Are you left-handed?

Deleted on2023-01-05T21:34:46.610Z

Are you left-handed?

wfrichar@google.com 2021-07-14T21:34:56.389Z

I keep the mouse on the RHS of the window when scrolling.

Deleted on2023-01-05121:34:56.389Z

I keep the mouse on the RHS of the window when scrolling.

wfrichar@google.com 2021-07-14T21:35:33.828Z

I also use the mouse wheel, not the scrollbar.

Deleted on2023-01-05121:35:33.828Z

I also use the mouse wheel, not the scrollbar.

jgalenson@google.com 2021-07-14T21:41:05.593Z

Yeah, I try to keep the mouse in a harmless place like the edge of the window...

Deleted on2023-01-05121:41:05.593Z

Yeah, I try to keep the mouse in a harmless place like the edge of the window...




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